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 1 Justin A. Nelson*                                  Rachel Geman*
   Alejandra C. Salinas*                              Wesley Dozier*
 2 SUSMAN GODFREY L.L.P                               Anna Freymann*
   1000 Louisiana Street, Suite 5100                  LIEFF CABRASER HEIMANN
 3 Houston, TX 77002-5096                             & BERNSTEIN, LLP
   Telephone: (713) 651-9366                          250 Hudson Street, 8th Floor
 4 jnelson@susmangodfrey.com                          New York, New York 10013-1413
   asalinas@susmangodfrey.com                         Telephone: (212) 355-9500
 5                                                    rgeman@lchb.com
   Rohit D. Nath (SBN 316062)
 6 SUSMAN GODFREY L.L.P                               Reilly T. Stoler (SBN 310761)
   1900 Avenue of the Stars, Suite 1400               LIEFF CABRASER HEIMANN
 7 Los Angeles, CA 90067-2906                         & BERNSTEIN, LLP
   Telephone: (310) 789-3100                          275 Battery Street, 29th Floor
 8 RNath@susmangodfrey.com                            San Francisco, CA 94111-3339
                                                      Telephone: (415) 956-1000
 9 Jordan W. Connors*                                 rstoler@lchb.com
   SUSMAN GODFREY L.L.P
10 401 Union Street, Suite 3000                       Scott J. Sholder*
   Seattle, WA 98101                                  CeCe M. Cole*
11 Telephone: (206) 516-3880                          COWAN DEBAETS ABRAHAMS
   jconnors@susmangodfrey.com                         & SHEPPARD LLP
12                                                    60 Broad Street, 30th Floor
   J. Craig Smyser*                                   New York, New York 10010
13 SUSMAN GODFREY L.L.P                               Telephone: (212) 974-7474
   One Manhattan West, 51st Floor,                    ssholder@cdas.com
14 New York, NY 10019                                 ccole@cdas.com
   Telephone: (212) 336-8330
15 csmyser@susmangodfrey.com

16
   Attorneys for Plaintiffs Andrea Bartz, Charles
17 Graeber, and Kirk Wallace Johnson, and the
   Proposed Class
18
   *(Pro Hac Vice forthcoming)
19
                                 UNITED STATES DISTRICT COURT
20
                               NORTHERN DISTRICT OF CALIFORNIA
21

22
     ANDREA BARTZ, CHARLES GRAEBER,                     Case No. 3:24-cv-05417-WHA
23   and KIRK WALLACE JOHNSON,
     individually and on behalf of others similarly     NOTICE OF PENDENCY OF OTHER
24   situated,                                          ACTION OR PROCEEDING

25                      Plaintiffs,

26   v.

27   ANTHROPIC PBC,

28                      Defendant.
                                                                                       CASE NO. 3:24-CV-05417
                                                      -1-            NOTICE OF PENDENCY OF OTHER ACTION OR
                                                                                                PROCEEDING
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 1          Pursuant to Civil Local Rule 3-13, counsel for Plaintiffs in Bartz et al. v. Anthropic PBC,

 2   24-cv-05417-WHA (N.D. Cal.) (“Bartz”) submit this notice of pendency of other action or

 3   proceeding to give notice of the following action: Concord Music Group, Inc. et al. v. Anthropic

 4   PBC, 5:24-cv-03811-EKL (N.D. Cal.) (“Concord”).

 5          In Concord, the Plaintiffs allege copyright infringement claims against defendant Anthropic

 6   PBC (“Anthropic”) predicated on Anthropic’s use of copyrighted lyrics in the development of its

 7   large language model product, Claude. See Ex. 1 (Concord Complaint at ⁋⁋50 et seq.). Concord

 8   was filed in the Middle District of Tennessee on October 18, 2023 and was transferred to this district

 9   on June 26, 2024. See Concord, Dkts. 1, 125. On August 21, 2024, prior to the initial case

10   management conference, the Concord case was reassigned from Judge Corley to Judge Lee. See

11   Concord, Dkt. 206. A motion to dismiss and preliminary injunction are pending. See Concord, Dkt.

12   179, 205.

13          Concurrent with this Notice, Plaintiffs are also filing an Administrative Motion pursuant

14   to Civil Local Rule 3-12 before the Honorable Eumi K. Lee in the Concord action requesting the

15   Court consider relating the Bartz and Concord actions.

16          A copy of the administrative motion to consider whether the cases should be related, filed

17   in Concord is attached hereto as Exhibit 2. As set forth in the notice, the Bartz action “may be

18   related” to the Concord action under Civil Local Rule 3-12(b) because they concern similar

19   claims for copyright infringement against the same defendant.

20          Based on the foregoing Notice, Plaintiffs submit to the Court to make any appropriate

21   orders pursuant to Civil Local Rule 3-13(d).

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                                                                                       CASE NO. 3:24-CV-05417
                                                     -2-             NOTICE OF PENDENCY OF OTHER ACTION OR
                                                                                                PROCEEDING
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 1   Dated: August 27, 2024       Respectfully submitted,

 2                                By: /s/ Rohit D. Nath
 3                               Rohit D. Nath (SBN 316062)
                                 SUSMAN GODFREY L.L.P
 4                               1900 Avenue of the Stars, Suite 1400
                                 Los Angeles, CA 90067-2906
 5                               Telephone: (310) 789-3100
                                 RNath@susmangodfrey.com
 6
                                 Justin A. Nelson*
 7                               Alejandra C. Salinas*
                                 SUSMAN GODFREY L.L.P
 8                               1000 Louisiana Street, Suite 5100
                                 Houston, TX 77002-5096
 9                               Telephone: (713) 651-9366
                                 jnelson@susmangodfrey.com
10                               asalinas@susmangodfrey.com
11                               Jordan W. Connors*
                                 SUSMAN GODFREY L.L.P
12                               401 Union Street, Suite 3000
                                 Seattle, WA 98101
13                               Telephone: (206) 516-3880
                                 jconnors@susmangodfrey.com
14
                                 J. Craig Smyser*
15                               SUSMAN GODFREY L.L.P
                                 One Manhattan West, 51st Floor,
16                               New York, NY 10019
                                 Telephone: (212) 336-8330
17                               csmyser@susmangodfrey.com
18                               Rachel Geman*
                                 Wesley Dozier*
19                               Anna Freymann*
                                 LIEFF CABRASER HEIMANN
20                               & BERNSTEIN, LLP
                                 250 Hudson Street, 8th Floor
21                               New York, New York 10013-1413
                                 Telephone: (212) 355-9500
22                               rgeman@lchb.com
23                               Reilly T. Stoler (SBN 310761)
                                 LIEFF CABRASER HEIMANN
24                               & BERNSTEIN, LLP
                                 275 Battery Street, 29th Floor
25                               San Francisco, CA 94111-3339
                                 Telephone: (415) 956-1000
26                               rstoler@lchb.com
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                                          -3-             NOTICE OF PENDENCY OF OTHER ACTION OR
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 1                               Scott J. Sholder*
                                 CeCe M. Cole*
 2                               COWAN DEBAETS ABRAHAMS
                                 & SHEPPARD LLP
 3                               60 Broad Street, 30th Floor
                                 New York, New York 10010
 4                               Telephone: (212) 974-7474
                                 ssholder@cdas.com
 5                               ccole@cdas.com

 6                               Attorneys for Plaintiffs Andrea Bartz, Charles Graeber, and
                                 Kirk Wallace Johnson, and the Proposed Class
 7                                *(Pro Hac Vice forthcoming)

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                                                                           CASE NO. 3:24-CV-05417
                                          -4-            NOTICE OF PENDENCY OF OTHER ACTION OR
                                                                                    PROCEEDING
     Case 3:24-cv-05417-WHA            Document 10         Filed 08/27/24       Page 5 of 5



 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that a true and correct copy of the foregoing was duly served upon all

 3   Counsel of record in:

 4              •   Bartz et al. v. Anthropic PBC, 24-cv-05417-WHA (N.D. Cal.)

 5              •   Concord Music Group, Inc. et al. v. Anthropic PBC, 5:24-cv-03811-EKL (N.D.

 6                  Cal.)

 7   via electronic service, in accordance with the Federal Rules of Civil Procedure, on August 27,

 8   2024.

 9
                                                        /s/ Rohit D. Nath
10                                                      Counsel for Plaintiff
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                                                                                      CASE NO. 3:24-CV-05417
                                                     -5-            NOTICE OF PENDENCY OF OTHER ACTION OR
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